              Case 18-21211-JAD                      Doc 97          Filed 01/24/19 Entered 01/24/19 15:32:53               Desc Main
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 Fill in this information to identify your case:

 Debtor 1                  Marilyn J. Young
                           First Name                       Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name               Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF PENNSYLVANIA

 Case number            18-21211-JAD
 (if known)                                                                                                                 Check if this is an
                                                                                                                        
                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15


If you are an individual filing under chapter 7, you must fill out this form if:
 creditors have claims secured by your property, or
 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?


    Creditor's         Citibank, National Association                      Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes
    Description of 133 Hawthorne Court                                       Reaffirmation Agreement.
    property       Pittsburgh, PA 15201 Allegheny                          Retain the property and [explain]:
    securing debt: County
                   Residence
                   Fair Market Value determined
                   by 2011 Appraisal & Current                             Debor continuing contact with Mortgage
                   Tax Assessment                                         company


    Creditor's         Irwin Home Equity                                   Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes
    Description of 133 Hawthorne Court                                       Reaffirmation Agreement.
    property       Pittsburgh, PA 15201 Allegheny                          Retain the property and [explain]:
    securing debt: County
                   Residence
                   Fair Market Value determined
                   by 2011 Appraisal & Current                             Debor continuing contact with Mortgage
                   Tax Assessment                                         company



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    Creditor's     Jefferson Capital Systems                              Surrender the property.                                  No
    name:                                                                 Retain the property and redeem it.
                                                                          Retain the property and enter into a                     Yes
    Description of 2006 Cadillac SRX 150,000                               Reaffirmation Agreement.
    property       miles                                                  Retain the property and [explain]:
    securing debt: Location: 133 Hawthorne Court,
                   Pittsburgh PA 15201


    Creditor's     PHFA-HEMAP                                             Surrender the property.                                  No
    name:                                                                 Retain the property and redeem it.
                                                                          Retain the property and enter into a                     Yes
    Description of 133 Hawthorne Court                                       Reaffirmation Agreement.
    property       Pittsburgh, PA 15201 Allegheny                         Retain the property and [explain]:
    securing debt: County
                   Residence
                   Fair Market Value determined
                   by 2011 Appraisal & Current                            Debor continuing contact with Mortgage
                   Tax Assessment                                        company


    Creditor's     Pittsburgh Water & Sewage                              Surrender the property.                                  No
    name:          Authority                                              Retain the property and redeem it.
                                                                                                                                    Yes
                                                                          Retain the property and enter into a
    Description of 133 Hawthorne Court                                       Reaffirmation Agreement.
    property       Pittsburgh, PA 15201 Allegheny                         Retain the property and [explain]:
    securing debt: County
                   Residence
                   Fair Market Value determined
                   by 2011 Appraisal & Current                            Debtor will continue to make regular
                   Tax Assessment                                        payments

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No


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 Debtor 1      Marilyn J. Young                                                                      Case number (if known)   18-21211-JAD

 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Marilyn J. Young                                                         X
       Marilyn J. Young                                                                 Signature of Debtor 2
       Signature of Debtor 1

       Date        January 24, 2019                                                 Date




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